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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA

UNITED STATES OF AMERICA,
                                                    CRIMINAL NO. 11-87 (MJD/JJK)
                              Plaintiff,
                                                        PRELIMINARY ORDER
v.                                                         OF FORFEITURE


12.    SUNDAYGA DEXTER ROBERTS

                              Defendant.


       Based on the United States’ motion for a Second Preliminary Order of Forfeiture;

on the plea agreement of the Defendant; on the Court having found that certain property

is subject to forfeiture pursuant to 18 U.S.C. § 981(a)(2) and 21 U.S.C. § 853(p); and on

the Court’s determination that, based on the Defendant’s plea agreement and based on all

of the files and records of this proceeding, the government has established the requisite

nexus between such property and the offenses to which the Defendant has pleaded guilty,

       IT IS HEREBY ORDERED that:

       1.      the Motion of the United States for a Second Preliminary Order of

Forfeiture [Docket No. 677] is GRANTED as to Defendant Sundayga Dexter Roberts;

       2.      A personal money judgment forfeiture in the amount of $10,543 is entered

against Defendant Roberts pursuant to 18 U.S.C. § 981(a)(2). Defendant Roberts shall be

given a credit against this money judgment amount for the net forfeited value of each

asset listed below that is finally forfeited in this action;

       3.      the following property is forfeited to the United States pursuant to 18
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U.S.C. § 981(a)(2) and 21 U.S.C. § 853(p):

       r.     $10,023.00 in U.S. currency;

       s.     $520.00 in U.S. currency; and

       4.     the Attorney General or his authorized designee may seize the foregoing

property and maintain custody and control of the property pending the entry of a Final

Order of Forfeiture;

       5.     the United States shall, pursuant to 21 U.S.C. § 853(n)(1), as incorporated

by 28 U.S.C. § 2461(c) publish and give notice of this Order and its intent to dispose of

the foregoing property in such manner as the Attorney General may direct;

       6.     pursuant to Fed. R. Crim. P. 32.2(b)(4)(A) and (B), this Preliminary Order

of Forfeiture shall become final as to the defendant at the time of sentencing, and shall be

made a part of the sentence and included in the judgment;

       7.     following the Court’s disposition of all petitions filed pursuant to 21 U.S.C.

§ 853(n)(2) or, if no petitions are filed, following the expiration of the time period

specified within which to file such petitions, the United States shall have clear title to the

foregoing property and may warrant good title to any subsequent purchaser or transferee;

and

       8.     this Court shall retain jurisdiction to enforce this Order, and to amend it as

necessary pursuant to Fed. R. Crim. P. 32.2(e).



Dated: July 31, 2012                       s/Michael J. Davis
                                           Michael J. Davis, Chief Judge
                                           United States District Court

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